                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                       )
                                               )
vs.                                            )       Mag. No. 1:15-mj-98
                                               )
JOSE OSORIO GARCIA                             )       JUDGE CARTER

                                 MEMORANDUM AND ORDER

       In accordance with Rules 5 and 5.1 of the Federal Rules of Criminal Procedure and in
accordance with the Bail Reform Act, 18 United States Code ' 3142(f), the initial appearance was
held on April 10, 2015. Those present included:

               (1) An Assistant United States Attorney for the Government.
               (2) The defendant.
               (3) Attorney Wilson VonKessler for defendant.

        Upon being sworn the defendant was informed or reminded of his/her privilege against
self-incrimination accorded him/her under the 5th Amendment to the United States Constitution.

       The defendant acknowledged he/she had received a copy of the Criminal Complaint. It
was determined defendant was capable of being able to read and understand these proceedings.

        The AUSA moved the court for an order detaining the defendant. The defendant waived
his detention hearing, reserving the right to ask for a detention hearing at a later date, and requested
a time to prepare for his preliminary hearing. The Court set his preliminary hearing for Thursday,
April 16, 2015. However, on April 15, 2015, the defendant filed with the Court a Notice of
Waiver of Preliminary Hearing (Doc. 17).

                                               Findings

       Based on the sworn Affidavit/Complaint and defendant=s waiver of preliminary hearing
and detention hearing, the undersigned finds:

               (1) There is probable cause to believe that there have been
               violations of 18 U.S.C. ' 922(g)(1), possession of a firearm by a
               convicted felon; and 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A),
               possession with intent to distribute and conspiracy to distribute 50
               grams or more of methamphetamine (actual), committed in the
               Eastern District of Tennessee.

               (2) There is probable cause to believe the defendant committed the
               aforesaid offenses.



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                                        Conclusions

      It is therefore ORDERED:

      (1) The defendant is DETAINED without bail.

      (2) The defendant=s next appearance shall be before a U.S. Magistrate Judge at
      2:30 pm on Thursday, April 30, 2015.

      ENTER.

                                          SBj|ÄÄ|tÅ UA `|àv{xÄÄ VtÜàxÜ
                                          UNITED STATES MAGISTRATE JUDGE




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